              Case 19-16737-amc                         Doc 21-1 Filed 04/26/20 Entered 04/26/20 16:31:16                         Desc
                                                          Certificate of Service Page 1 of 1

                                                               United States Bankruptcy Court
                                                                     Eastern District of Pennsylvania
 In re      Tamara C. Miller                                                                                Case No.   19-16737
                                                                                   Debtor(s)                Chapter    13



                                                                     CERTIFICATE OF SERVICE
I hereby certify that on April 26, 2020, a copy of the First Amended Chapter 13 Plan was served electronically or
by regular United States mail to all interested parties, the Trustee and all creditors listed below.

 Bernadette A. Kearney, Esquire
 Hamburg, Rubin, Mullin, Maxwell & Lupin
 375 Morris Road
 P.O. Box 1479
 Lansdale, PA 19446
 Bridgecrest Credit Company, LLC
 P.O. Box 29018
 Phoenix, AZ 85038
 Habitat For Humanity of Mont. County
 533 Foundry Road
 West Norriton, PA 19403
 James Randolph Wood, Esquire
 Portnoff Law Associates, Ltd.
 2700 Horison Drive
 Suite 100
 King of Prussia, PA 19406
 Municipality of Norristown
 c/o Portnoff Law Associates, Ltd.
 P.O. Box 3020
 Norristown, PA 19404-3020



                                                                                 /s/ David B. Spitofsky, Esquire
                                                                                 David B. Spitofsky, Esquire 55151
                                                                                 Law Office of David B. Spitofsky
                                                                                 516 Swede Street
                                                                                 Norristown, PA 19401
                                                                                 610-272-4555
                                                                                 spitofskylaw@verizon.net




Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                 Best Case Bankruptcy
